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                              No. 13-57095
              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

                     REBECCA FRIEDRICHS, et al.,
                           Plaintiffs-Appellants,

                                     v.

           CALIFORNIA TEACHERS ASSOCIATION, et al.,
                          Defendants-Appellees,

         KAMALA D. HARRIS, Attorney General of California,
                          Defendant-Intervenor,


             On Appeal from the United States District Court
             for the Central District of California, Santa Ana
                       No. 8:13-cv-00676-JLS-CW
                        Judge Josephine L. Staton


           APPELLANTS’ REPLY IN SUPPORT OF
URGENT MOTION FOR SUMMARY AFFIRMANCE OR TO SUBMIT ON
                     THE PAPERS


    Michael E. Rosman                      Michael A. Carvin
    CENTER FOR                               Counsel of Record
    INDIVIDUAL RIGHTS                      James M. Burnham
    1233 20th Street N.W.                  William D. Coglianese
    Suite 300                              JONES DAY
    Washington, DC 20036                   51 Louisiana Avenue NW
    202.833.8400                           Washington, DC 20001
                                           202.879.3939

                             Counsel for Appellants
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      This appeal is ripe for decision. The Appellants—i.e., the people and entity

who filed this appeal—acknowledge that they cannot prevail before this Court
under currently binding precedent. The Appellees (obviously) agree with that
assessment. Summary affirmance is therefore warranted.

      The Appellee Unions ask the Court to reject this straightforward course.
Rather than quickly rule in their favor, they ask that the Court host an academic
seminar on the wisdom of opinions the Court is bound to follow regardless of how
wise it believes them to be. Such an exercise is not an appropriate use of this
Court’s limited resources. It should therefore reject Appellees’ efforts to prolong
this proceeding and instead enter judgment as expeditiously as possible in

accordance with binding Supreme Court and Ninth Circuit precedent.
      1.      Appellees’ first rationale for conducting oral argument is that this
Court should engage in de novo appellate fact-finding. See Opp. 3-4. Appellees
cite no precedent for a court of appeals conducting de novo fact-finding,
particularly in the context of a purely legal appeal from a judgment on the
pleadings. That is because, of course, the American legal system puts district
courts in charge of finding facts and appellate courts in charge of reviewing those
findings. See, e.g., Jacuzzi Bros. v. Berkeley Pump Co., 191 F.2d 632, 634 (9th
Cir. 1951) (“The assumption of [de novo fact-finding] authority by the appellate
court would be an usurpation. . . . If there is not firm adherence to such a rule,
everything is cast adrift.”). Nor do Appellees provide any explanation for how,
even if it were appropriate for this Court to make its own factual findings, which it
is not, the Court is supposed to make those fact findings on the basis of a complaint


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and an answer. The Court should thus reject this basis for prolonging this appeal

out of hand.
      2.       a.    Appellees next claim that “[i]t is common” for this Court to
conduct oral argument and issue a published opinion in an appeal that is squarely

foreclosed by binding precedent. Opp. at 4. Appellees are wrong. In every
example they cite, a party argued that his or her case was distinguishable from
binding precedent. See Ritchie v. United States, 733 F.3d 871, 876 (9th Cir. 2013)
(“Ritchie attempts to distinguish Monaco on two grounds”); United States v.
Grandberry, 730 F.3d 968, 973 (9th Cir. 2013); (“We begin by addressing the
government’s argument that Motley, Howard, and their progeny are no longer

binding law in light of Samson.”); Porter v. Winter, 603 F.3d 1113, 1115 (9th Cir.
2010) (“the Navy asserts that Carey does not control the outcome of this case”);
see also generally Makaeff v. Trump Univ., LLC, 715 F.3d 254 (9th Cir. 2013)
(making clear the parties sharply disputed the proper outcome on appeal); Dahlia
v. Rodriguez, 689 F.3d 1094 (9th Cir. 2012) (same). Those cases thus featured a
live legal dispute. This one does not. And Appellees have no examples of this
Court insisting on presiding over an oral argument at which the adversaries step to
the lectern and agree on what course the Court is bound to take.
               b.    The Appellee unions next ask this Court to conduct oral
argument and issue a published opinion extolling the virtues of the precedents it is
bound to apply. Such an opinion would be dicta since there is no dispute for this
Court to resolve about whether those decisions are binding. See, e.g., United
States v. Henderson, 961 F.2d 880, 882 (9th Cir.1992) (defining dicta as language


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that is “unnecessary to the court’s holding”). Such an opinion would thus also be

advisory. “Given the constitutional ban on advisory opinions, there exists a strong
judicial aversion to render potentially nondispositive rulings.” Lanza v. Ashcroft,
389 F.3d 917, 929 (9th Cir. 2004); see also, e.g., Flast v. Cohen, 392 U.S. 83, 96 &

n. 14 (1968) (noting that “[t]he rule against advisory opinions was established as
early as 1793” and that it “has been adhered to without deviation”). This Court
should decline the Appellees’ request for such an advisory ruling here. 1

      c.      Finally, in requesting oral argument, Appellees ignore Federal Rule of
Appellate Procedure 34(a)(2)(B). That rule makes clear that oral argument is
generally unnecessary when “the dispositive issue or issues have been
authoritatively decided.” Id. This appeal falls squarely within that rule. And that
is, no doubt, why Appellees fail to muster any examples of this Court conducting
oral argument in the face of acknowledgment by the Appellant that its claims are
foreclosed in this Court at the present time.
      3.      No one disputes the basic maxim that “[t]he loss of First Amendment
freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); see also, e.g., Valle Del Sol Inc.
v. Whiting, 709 F.3d 808, 828 (9th Cir. 2013) (same). Defendants’ argument is
merely that Plaintiffs suffer no such injury because they have no “colorable” First

Amendment merits claim in this Court due to adverse binding precedent. See Opp.
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        Appellees raise the specter that failing to issue such an opinion will open
the Court to “critique,” Opp. at 7, but plainly this Court cannot be criticized for
simply applying binding precedent. That is how binding precedent works. See
Agostini v. Felton, 521 U.S. 203, 237 (1997); Miller v. Gammie, 335 F.3d 889, 893
(9th Cir. 2003) (en banc).

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at 9. But that undisputed reality reinforces why this Court should rule on

Plaintiffs’ claims summarily and quickly, enabling Plaintiffs to quickly proceed to
the Court that can resolve their First Amendment claims on the merits and thus
relieve Plaintiffs from their constitutional injury.

      Appellees never wrestle with the simple fact that—unlike many First
Amendment cases, arising from discrete past events—the First Amendment harm
in this case is ongoing every single day in this appeal. That is, no doubt, why
Appellees are doing everything they can to slow the train. Every pay period that
passes, Appellees take more money from Appellants’ paychecks and spend that
money on expressive conduct in direct contravention of Appellants’ First

Amendment rights. After all, if the Appellant teachers are correct that the First
Amendment forbids the agency-shop scheme the Appellee unions operate, then
those teachers are clearly suffering irreparable harm on an ongoing basis in the
form of (1) unconstitutional compelled speech (via compelled payments for
“chargeable” expenses) and (2) an unconstitutional burden on Plaintiffs’ speech
(via the continuing-to-apply, annual “opt out’ requirement). That harm is not only
likely, it is certain. Indeed, it is not even disputed by Appellees, who readily admit
that the Appellant teachers are, in fact, subject to this unconstitutional regime.
      Time is therefore of the essence. And moving quickly to summarily affirm
the district court is entirely sensible where, as here, there is nothing for this Court
to decide. Minimizing this continuing violation of Appellants’ First Amendment
rights is why Appellants have requested resolution of this motion by the end of
October. The need to do so amply warrants such urgent treatment.


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                                  CONCLUSION
      Appellants respectfully request that the Court summarily affirm the district

court’s ruling as expeditiously as possible.


Dated: October 16, 2014                        Respectfully submitted:


                                               /s/ Michael A. Carvin
                                               Michael A. Carvin
                                                  Counsel of Record
                                               James M. Burnham
                                               William D. Coglianese
                                               JONES DAY
                                               51 Louisiana Avenue NW
                                               Washington, DC 20001
                                               202.879.3939

                                               Michael E. Rosman
                                               CENTER FOR INDIVIDUAL RIGHTS
                                               1233 20th St. NW, Suite 300
                                               Washington, DC 20036

                                               Counsel for Appellants




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                         CERTIFICATE OF SERVICE
      I hereby certify that on October 16, 2014, on behalf of Plaintiff-Appellants, I

electronically filed the foregoing document with the Clerk of the Court for the
United States Court of Appeals for the Ninth Circuit by using the appellate
CM/ECF system. Participants in the case who are registered CM/ECF users will

be served by the appellate CM/ECF system. I further certify that some of the
participants in the case are not registered CM/ECF users. I have mailed the
foregoing document by First-Class Mail, postage prepaid, for delivery within 3
calendar days to the following non-CM/ECF participants:

Christopher P. Burger                      Henry Chi-Jen Wang
SCHOOLS LEGAL SERVICE                      BAUTE CROCHETIERE &
1300 17th Street                           MALONEY LLP
P.O. Box 2445                              Suite 4900
Bakersfield, CA 93303                      777 South Figueroa Street
                                           Los Angeles, CA 90017

Counsel for Appellee Donald E. Carter      Counsel for Appellee Ruth Pérez


Dated: October 16, 2014                    Respectfully submitted,

                                              /s/ Michael A. Carvin
                                           Michael A. Carvin
                                             Counsel of Record
                                           James M. Burnham
                                           William D. Coglianese
                                           JONES DAY
                                           51 Louisiana Avenue NW
                                           Washington, DC 20001
                                           202.879.3939

                                           Counsel for Appellants
